Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 1of59 PagelID#: 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS =
TYLER OLVISION [UMN a Ra ag

Paros 2 | fai dey
CYL)
CIviIn. ACTION NO. CEOWIS

QD0IE RAY JEFFERY,
Pleincifr,

Ve

KATHY VERNON, CARLOYN JOHNGON, KENNETH
THOMPSON, CHAPLES SPIVEY, COANELUIS
SMITH, ELTON SPOCK, MICHAEL. UPSHAW,
KEVIN MOORE, CHARLES WILLIAMSON, STEVE
STAPLZS, KATHY MAXEY, LELAND WHEUSZEL,
JAY MORGAN, BILL LEWIS, J. 8. WAMREN,
PHILLIP BRICKMAM, GARY JOHNGON, SRUCE
WHITE, WILLIAM MAYS, JOMN MCAULIFFE,
GACH MEMBER OF THE TOCU-ID OIRECTOR'S
PEVIEW COMMITTEE, ANDO ACH MEMBER OF
THE TOC.J-ID QUREAL) OF CLASSIFICATION
CONMITTEE,
(In their individual capecity.)
Defendants.

CIVIL. AIGHTS COMPLAINT

Ze
INTRODUCTION

Thie {ie e § 1983 action filed by plaintiff for viclations
ef hie conetitutional rights to be free of employment and reciel
diecrimination for asseaciation, haerasement, retaliation, cruel
and unusual punishment to inflict mental enguish, in part of e«
conspiracy to deprive the equal protection of the laws, or equal
privileges end imaunities under the lews; end, seeking money
damages, declaratory judgement end injunctive relief.

Plaintiff request e trial by jury.

rz.
AURTSOICTION

4. This civil eation ie filled under the Firat, Eighth and

Fourteenth Amendmente to the United States Conetitution which are
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 2 of 59 PagelID#: 2

2
enforasable through Title 42 U.S.C. §§ 1983, 1985(3) and 1986.
The sourt has jurisdiction ever these constitutionel cleims under
Title 28 U.S.C. §§ 13314 and 1343(3)(4).
Plaintiff invokes pendent juriedietion of this court.

11k.
YENUE

2. The Eastern Oistrict of Texes is an eppropriate venue
for thie action under Title 28 U.S.C. § 1391(b)(1), because ane or
more of the defendants reside in thie district.

3. The Eastern Oistrict of Texas ie eleo an appropriate
venue under Title 28 U.S.C. $ 1391(b)(2), because initiel events
giving rise to the claims occurred in this district.

IV.
PARTIES

PLAINTIFF s

4. §0DIE RAY JEFFERY (hereinafter “plaeintifrf") Le eae stete
prieener incarcerated at the Texas Separtment of Criminal Justice
-Institutionel Oivisian (hereinafter referred to as the TOCJ-I0),
Ellis Unit, Aaoute &, Hunteville, Texas, 77343,
ORFPENDANTS:

S$. KATHY VERNON (hereinafter "Ms Vernon") ie employed as
a serrectionel officer at the TOCJ-I0 Coffield Unit, flaute 1,
Post Office Box 150, Tennessee Colony, Texes, 75884. At all times
relevant to this action, Me Vernan is assigned to the SAM to 2PM
or 4AM to 12PM shift of eecurity/correstianal personnel. She is
sued in her individual capacity.

6. CAALOYN JOHNSON (hereinafter "Me Johnson") Le employed

ae a correctional officer at the TOCJ-10 Coffield Unit, Route 1,
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 3 of 59 PagelID#: 3

3
Post Office Sox 150, Tennessee Colony, Texes, 75884. At all times
relevent to thie action, Ms Johnsan ie essigned to the SAM to 2PM
or 4AM to 12PM shift of seourity/correctional personnel. She is
sued in her individual capacity.

7. ENNETH THOMPSON (hereinafter "Lt. Thompson") te an
employee for the TOCJ-I0 Coffield Unit, Route 1, Poet Office Box
4130, Tennessee Colony, Texas 75884, At #11 times relevant to thie
action, Lt. Thompson ie e supervisor at the Coffield Unit for the
BAM to 2PM shift of sesurity/correctionel personnel. He ise sued
in hie individual capacity.

8. CHARLES SPIVEY (hereinafter "Capt. Spivey”) is an
employee at the TOCJ-I0 Ellis Unit, foute 6, Hunteville, Texes,
77343. At ell times relevant to thie ection, Capt. Spivey is a
supervisor et the Ellis Unit and reeponeible for the GAM to 2PM
shift of security/correctional personnel. He is sued in his
individual capecity.

9. CORNELIUS SMITH? (hereinefter "Maj. Smith”) ie a
former Building Major at the TOCJ-I0 Coffleld Unit and presently
employed at the TOCJ-I0 Seto Unit, Post Office Gox 128, Tennessee
Coleny, Texas, 73880. At all times revelant to this action, Maj.
Smith is responsible for the eupervision and training of the
security/corresctional personnel at the Coffield Unit. He is sued
in hie individual capacity.

49. ELTON BAOCK (hereinafter “Maj. Srock”) is e former

 

200 ve so

1) On information snd belief, Maj. Smith wee demoted
to the rank of Captain and transferred to TOCU-I0 Beto Unit
for violations of en inmate's civil rights.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 4 of 59 PageID#: 4

4
Bullding Major at the TOCJ-I10 Ellis Unit, Moute 6, Hunteville,
Texse, 77343. At ell times relevant to this action, Maj. Brack
building mejor end reepensible for the supervision and training
of the security/correctionel personnel et the Ellie Unit. He ie
sued in hie individual capacity.

44. MICHAEL UPSHAW (hereinefter “Werden Upshaw") is ean
Aseistant Werden at TOCJ-I0 Coffield Unit, Route 1, Post Office
Box 150, Tennessee Colony, Texas, 75884. At all times relevant to
this ection, Warden Upshaw is responsible for the management end
control, training and supervision of the sesurity/correctional
pereannel st the Coffield Unit. He te sued in hie individual
capecity.

12, KEVIN MOORE (hereinafter "Warden Moore") is Assistant
Werden st TOCI-r0 Ceffield Unit, Route 1, Past Office Gox 150,
Tennessee Colony, Texas, 75884. At all times relevent to this
ection, Warden Moore te responsible for manegement end sontrol,
training end supervision of the security/correctional personnel
eat the Cofflield Unit. He is sued tn hie individual capacity.

43. CHARLES WILLIAMSON (hereinefter "Warden Williamson")
le a former Assistant Warden at TOCJ-I0 Ellie Unit, end presently
Assistant Werden et the TOCJ-ID Eastham Unit, Post Office Bax 15,
Laveledy, Texas, 75851. At all times relevant to this ection,
Warden Williamson is responelble for the management and control,
training and supervision of the security/carrectional personnel
at the Ellie Unit. He le sued in hie individual caproity.

44. STEVE STAPLES (hereinefter “Warden Staples”) is «

former Aeaistant Warden at the TOCJ-I0 Ellie Unit, and presently
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 5 of 59 PagelID#: 5

5
Aseistent Warden et TOCJ-IO0 Fergueon Unit, 12120 Saelvage Orive,
Midway, Texae, 75852. At all timee relevant to this ection,
Warden Steples ie reeponsible for the management and control,
training and supervision of the security/correctional personnel
eat the Ellie Unit. Ne te sued in hie individual capacity.

45. KATHY MAXEY (hereinafter “Ma Maxey") is former Chief
of The Unit Classification Committee at the TOCJ-ID Ellie Unit,
Route 1, Hunteville, Texee, 77343. At ell times relevant to thie
action, Me Maxey is responeible for the management, control and
execution of the clessiffiicetion plen at the Ellie Unit. She is
sued in her individual capacity.

16. LELANO HEUSZEL (hereinafter “Warden Heuszel") is e
former Aaesistant Warden at TocJ-106 Ellis Unit, and prasently
Aesistant Warden at the TOCJ-I0 Ouncen Unit, 15302 So. ist Street,
Diboll, Texes, 73944. Ac oll times relevent te this action,
Warden Heuszel is responeible for the meneagement end control,
training end eupervieion of the security/correctionsal personnel
at the Ellis Unit. He te eued in hie individuel capacity.

47. JAY MORGAN (hereinafter "Warden Morgen") is the Seniar
Werden at TOCJ-IO Ellis Unit, Route 8, Huntevilie, Texas, 77343.
At all times relevant to this ection, Warden Morgan ie ultimately
responaible for manegement and control, treining and supervision
of the security/sorrectionel personnel at the Ellie Unit. He is
eued in hie individuel cepacity.

48. BILL LEWIS (hereinafter Mr. Lewie”) is the TOCJ-I0
Regional I Olrector, Post Office Sox 39, Hunteville, Texas 77342,

At ell times relevant to this actian, Mr. Lewis is responsible
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 6 of 59 PagelID #: 6

6
for overseeing management and control, training end supervision
of the TOCU-I0 Unites in the Regional I area. He is sued in his
individual capacity.

19, J. 8. WARREN (hereinefter "Mr. Werren") is e TOCJ-I0
Regional 2 Oirector, Poetel Orewer 400, Tennessee Colony, Texas,
75881. At all tcimes relevant to this actian, Mr. Waerren is
responeible for overseaing management end control, treining and
supervision of the TOCJ-I10 Unites in the Region 2 area. He is sued
in hieindividueal capecity.

20. PHILLIP SARICKHAM (hereinafter "Mr. Srickhem") ie ae
TOCJ-I0 Regionel 2 Olirector, Postel Orawer 400, Tennessse Colony,
Texas, 75961. At all times relevent to thie action, Mr. Brickham
ie reeponeible for oversesing menegement end csontrol, treining
end supervision of the TOCJ-I0 Units in the Region 2 erea. He ie
eued in hie individuel capacity.

21. GARY JOHNSGN (hereinafter "Mer. Johnson") ite TOCJ-10
Admintetrative Olrector, Fost Office Sex 39, Hunteville, Texes,
77342. At ell times relevent to this actian, Mr. Johnson is
ultimately responsible for the management end control, training
and supervision of the TOCJ-I10 employess end enforcing statutory
laws, court orders, inetitutional policies and procedures, etc.,
which governs the TOCJ-I0. He ie sued in his individual capacity.

22. BAUCE WHITE (hereinafter “Lt. White’) Le an employes
for the TOCJ-I0 Internal Affaire Civision (IA0) at the TOCJ-I0
Coffield Unit, Route 1, Past Office Box 150, Tennessea Colony,
Texas, 73884. At wll times relevant to thie action, Lt. White is

an YAO investigestor and responsible for providing inquiries into
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 7 of 59 PagelID#: 7

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sliegations of misconduct on the part of eny TOCJ employee end
crimine! violetione an stete property cantrolled by the TOCJ. He
is sued in hie individual capacity.

23. WILLIAM Mays (hereinafter "Lt. Maye") le an employes
for the TOCJ-I0 Internal Affeirs Olivision eat TOCJ-10 Coffield
Unit, Route 1, Post Office Box 150, Tennessee Calony, Texes,
75884, At all times relevant to this action, Lt. Maye is sen
TAD investigator end responsible for providing inquiries into
allegations of misconduct on the part of any TOCJ employee end
criminel violetions on state property controlled by the TOCJ. He
fe sued in his individuel capacity.

24. JOMN MCAULIFFE (hereinafter ‘Mr. McAuliffe") is the
former Olrecter for the TOCJ-I0 Internel Affeirs Oivision, Post
Office Box 99, Huntsville, Taxes, 77342. At all tcimes relevant
to thie action, Mr. MoAullffa is ultimately responsible for the
manegement and control, training and supervision of the personnel
in the IAD and providing inquiries into allegations of misconduct
en the part of any TOC) employee and criminel violaetians on state
preperty controlled by the TOCJ. He {ses sued in his individuel
eapacity.

25. ACH MEMBER OF THE TOCJ-I0 OIRECTOR'S REVIEW COMMITTEE
(hereinafter “the ORC"), Poet Of fFlioe Box 99, Hunteville, Texes,
77342. At wll eimes relevent to this action, the ORC is solely
responsible for reviewing and resolving any public complaint(s)
ageinet TOCJ-I0 employee for failure to comply with established
departmentel guidelines, policies or procedures. Eech member ia

sued in his/her individuel capacity.@
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 8 of 59 PagelID#: 8

8

26. ACH MEMBER OF THE TOCJ-ID BUREAU OF CLASSIFICATION
COMMITTEE (hereinefter "the 80C"), Poet Office Box 99, Hunteville
Texae, 77342. At all eimee relevent to thie action, the 80C is
ultimately responeible for the separation and classification of
inmates eccerding to hie/her weex, age, corrigibility, conduct,
obedience, industry and eriminel hietory, and type of offense for
which the inmate was sentenced to the TOCJ-I0. Each member is
eued in his/her individual cepacity.2

27. Ate ell times relevent to this action, the defendants
have acted under solor of state law.

Ve
FACT:

28. Plaintiff eseserts, the ellegations of thie complaint
coneist of continuous events arising over « pericd of years which
results in the undue suffering of mentel end emotional anguish.

29. In July, 1989, to Februery, 1991, Andrea Nicole Jock
(hereinafter "Andree") wee employed et the TOCJ-I0 Ellie Unit.

30. In May, 1994, Andrea begen to share e correspondence
relationship with plaintiff et the TOCJ-I0 Hunteville/Welle Unit.

34. Pleinciff complied with the TOCJ-I10 Inmate Visitatian

Polley? (hereinafter referred to as "AD-03.85") end submitted the

 

2). In a motion for dieclosure, plaintiff ehall seek
the neme of these defendente for service of process.

3). The TOCJ-IO Inmate Visitation Plan te implemented
pursuant to the provieions of Texas Government Code Ann., §§
800.010, 300.014 end 500.012; Texas Penel Code, § 20.02(d);
and, The Stipuletion Modifying The Crowding Provisions of
Amerxied Oecree, Rulz v. Johnson, Civil Action No. H-78-887-
CA, May, 1985.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 9 of 59 PagelID#: 9

9
required form for epproveal of Andrea an the Visitors Liet.

32. At the time, plaintiff seldom received visite from the
reletives end Friends already approved on the Visitors Liet.

33. On or ebout 17 June 1991, the 80C approved Andree as a
“FRIEND” for non-contact visits on the Visitors List.

34. Afterwards, Andrea visited plaintiff each weekend.

35. The weekly visite end deily correspondence intensified
the reletionehip between plaintiff and Andree.

38. Plaintiff requested en interview with the unit warden
for the epprovel of “especial contact vieltes” with Andres.4

37. In @ response to the request, the warden's secretary,
Me. Molly Standley, conducted an interview with plaintiff.

38. Me. Standley suggested common-law merriage ae being
the simplest solution for plaintiff and Andrea ta have contact
vieite.3

39. As encouragement, Me. Standley provided information
of the legeal requirements for the BOC to acknowledge « common-law

marriese for contect visitetion.

 

4). «The unit warden or his/her designee may permit
apecial visite (contact or non-contect) or authorize special
conditions of vieits auteide of the ordinary course of the
astablished visitation rules. The werden may celegate
authority to review end epprove special visite to «a designee
to inolude the Assistant Warden, Building Major, or the Unit
Claesification Comittes. Inmates wanting to have e special
vieit shell submit requests in writing to the unit warden."
AD-03.85, Section IV, page 19.

5). @50use (common-law or ceremonial). The person
listed as en inmate's spouses on the inmate's Visitors List
ahell be eligible for contact visits... ." A0-03.85,
Section IT(E)(1)(e), page 15.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 10 of 59 PageID #: 10

40

40. On 10 July 1991, Me. Standley notarized a "Oecleration
of Informal Merriage and Supporting Affidavit’sS to bind plaintifF
in a common-law marriage with Andres.

414. In addition, Me. Stendley seccepted @ "Declaration for
Informel Merriags and Supporting Affidevit"®’ to bind Andres in a
common-law marriage with plaintiff.

42, On information and belief, Me. Stendley hand-delivered
the esccepteble documents to the 60C.

43. On 10 July 1994, the 80C changed the visiting status on
the Vieitore Liet for Andree from "FRIEND" to "COMMON-LAW WIFE."

44, On 16 July 1991, according te the change request, the
B0C changed Andree's name on the liet to "Andrea Nicole Jeffery."

43. Severel weekends, at the Hunteville/walle Unit, during
contact visite, plaintiff and Andrea were criticized, harassed,
and diecriminated egeinet by TOCJ-I0 off iciale for shering en
interracial relationship.?

46. The most noteble incident occurred when Andrea was
detained for over en hour while plaintiff eweited her arrival.

47. Finelly, when cleared to visit, Andres and pleintiff

 

8). *. . .documantation for establishing a comnon-law
merriege etetue is « decleration of informe! marriage. A
decleration of informel marriage shell be executed on = form
prescribed by the Guraau of Vitel Statistics for the Stete
Department of Health and provided by the County Clerk. After
verification, the GOC will be notified via receipt of a capy
of the documentation along with the inmate's change request.
A copy of the document(s) shall be pleced in the inmate's
unit files." AD-03.83, Section II(E)(1)(e), page 15.

7). = Plaintiff ie an African-American male,
Andrea is a Wiite-Amerioan female.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 11 of 59 PagelID#: 11

44
were immediately harassed, humiliated and falsely accused by a
correctional officer in the presence of other inmates and their
visitors.

48. A number af ranking officers were summoned to the
visitation srea to investigate the false accusations.

49. The asccusations were without merits and the summon of
thoee officers proved to be in bed faith.

50. Ouring the remainder of their visit, plaintiff and
Andrea were devastated and in a state of intimidation.

54. At the conclusion of visitation, plaintiff canfronted
the correctional officers end requested their namee to execute an
administrative grievance.

S2. The lieutenant-in-charge became very belligerent and
threatened to have plaintiff's contact visits suspended.

53. In light of no evidance to support or justify the
suspension of plaintiff's contact visits, the lieutenant ordered a
group of correctional officers to search plaintiff's housing area
for contraband.

54. | The search produced a broken state-issue razor which
the officers classified as contraband.

55. Plaintiff was charged with a major disciplinary case
for the "Possession of Contraband."

5S. At a disciplinary hearing, plaintiff was Found guilty
and punishment wes assessed eat demotion from a State Approved
Trusty TII to Line Class I, forfeit of accredited good conduct
time and several hours of extra duty.

S77. At the time, contact visitation was reserved for those
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 12 of 59 PagelID#: 12

wa
are

12
inmates with a State Approved Trusty status.

58. On information and belief, «a demotion in cless status
(from Stete Approved Trusty III to Line Clase I) was to fulfill
the deeire of the lieutenant.

S9. Plaintiff filed es compleint to the IAD which resulted
in harsh retalletion.

60. On 12 October 1991, the most significant retaliatory
action occurred, when plaintiff was dropped from participation
in the four-yeer college program and transferred by the 80C to
the TOCJ-ID Ellis unit.9

61. The first weekend of the transfer, Andrea visited with
Plaintiff on the Ellis Unit.

62. The next weekend, plaintiff was not informed, Andrea's

attempt to visit was denied without reason or rule infractian, 10

 

8). "Yrmates who ere eligible for contact visits and
who are found guilty of disciplinary violetions (or major
reduced to minor) by a disciplinary hearing officer through
amajor disciplinary hearing process may have their contact
visitation privileges suspended for e minimum of one visit
and a maximum of four months from the date of conviction.
The suspension of contact visits need not be assessed by a
disciplinary hearing officer in those cases where inmates
are demoted to a time-earning statue below State Approved
Trusty IV as punishment for @ major disciplinary violations.
These inmates are amuitomatically ineligible for contact
visite until such time they again satisfy the eligibility
criteria. ... ' AD-03.85, Section II(F)(1)(2), page 17.

9). Plaintiff is a four-year college participant, and
it was alleged the transfer to the Huntsville/Walls Unit was
for errollment into the four-year college program, el though
the seme program was available on the Ellis Unit from where
plaintiff was transferred.

10). "4, When there is reason to believe a forthcoming
visit and/or a partioular visitor will compromise the safaty
andsecurity of irmates, staff or the institution, the unit
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 13 of 59 PagelID#: 13

43

63. On 29 October 1991, the B80C removed Andres from the
Visitors List and placed her name on plaintiff's negative mailing
list "Per recommendation of the Ellie Unit Administration and the
approval of the Stete Classification Committee for attempting ta
cireumvent TOCJ Correspondence Aulee."

64, Pleintiff wee unaware of the ececuseations, end wes not
dieciplined for any type of action related to ". . .attempting to
clroumvent the TOCJ Correspondence ules."

8S. On OS September 1991, the former Chief of Ellie Unit

Cleesification Committee, Mr. O. Lorimer, response to plaintiff

 

warden or hie designee shell have the authority to sancel
the visit and/or deny e particular individual's permieslon
to visit that day. In eddition, the unit warden may remove
an individusl's meme from an inmate's Visitors Liet, when
there ie cause to believe thet the visitor will compromise
the security of the inetitution and/or safety of inmates or
ataff.

2. The specific reason(s) for cancellation of e
visit, deniel of a visitor and/or removel of eae visitor from
an irmate's Visitors Liet shell be documented snd filed in
the irmete's unit classification folder and in the unit
folder maintained by the security office. If the dacision is
made to remove a visitor's name from the Visitore Liet, a
copy of the documentation shell eleo be maintained in the
inmate's central file at the Sureau of Classification.

3, An ireate mst be notified in writing of the
denial of e vieit either before (if time permits) or inmedi-
ately after the cancellation of a visit. An ireete will
alec be given written notice upon the remeval of ea visitor's
name from the inmate's Visitors List. Al) written notices
to inmates shall include specific reason(s) for the adminie-
trative action taken, except in instances when disclosure
of the rengon ta the inmate would jeopardize institutions!
security and/or the safety of eny individual. (In such
causes, the resson cen be steted as follows: ‘for the
gecurity and esfety of inmates, steff and inetitution.”)
(Eapeheeis.)

4, An inmate may appeal the decision to remove an
indivicuel's neme from his/her Visitors List through the
Inmate Grievance Procedure.”  AD-03.85, Section I (1.)(€1)¢2)
(3)(4), page 9.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 14 of 59 PageID#: 14

44
for removal of Andrea from the Visitors List stated: "Andrea's
neme wee removed from the visitation and mailing lists by the
Bureau of Classification based on information from the Ellis If
Unit warden Andrea visits will compromise the security of the
inetitution and/or eafety of inmates snd staff."

66. The discrepancy end lack of evidence to support the
acousations for removal of Andrea from the Visitors List caused
pleintiff to File a complaint with the TAO.

67. On 28 September 1891, the 80C replaced Andrea en the
Vieltors List es "FRIEND" for non-contact visits end plaintiff
was transferred to the TOCJ-I0 Eatelle Unit.

68. On or ebout 15 October 1981, per demand of the Estelle
Unit administration and the 80C, plaintiff submitted copias of
the original "Declarations of Informal Marriage” es verifiastioan
for common-lew marriage to Andree.

69. Ninety(90) days hed elapsed since plaintiff was found
guilty of the dieciplinary violation “Pogseesion of Contraband"
at the Hunteville/walle Unit. ‘1

70. According to TOCJ-I0 Claselficetion Plan, plaintiff was
eligible for reciassificetion, rastoration of the less geod time

credits end promotion in class and cuetody stetus, 12

 

41). gee paragraphe 34 thru 5S, supre.

12). The -TOCJ-10 Classification Plen required, "Insetes
without any major diesiplinery violetion within nminety(90)
days are eligible for reclassification, s promotion in class
end custody status, end restoration of forfeited good time
eredite."
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 15 of 59 PagelID#: 15

15

74. The recleesification of plaintiff would have reetored
the privilege for contact visite with Andrea and quelified for
pertioipetion in the four-year college progrem to achieve = s
bachelor's degree in peychology.

72. In @ request to be recommended for reclaselificatioan,
plaintiff's immediate supervisors added hie name to the list with
the names of other inmates for reclesaification.

73. The other inmatee on the list were reclassified end
promoted in class or custody status, and/or restored ilces good
conduct time; yet, the Unit Classificetion Committes declined te
reclassify plaintiff.

74. On or ebout 18 November 1991, in response to a request
from plaintiff to be recommended for reclassification, the Unit
Major soenducted an interview.

783. The mejor "propositioned” plaintiff for recommendation
to be reclassified.

76. The “praposition” wee for plaintiff to return to his
job eessignment in the Unit Leundry end gether information releted
to some inmates plan to aescepe.

77. For the sole purpose of reclassification, pleintiff
performed the dangerous tesk of anquiring information directly
from the inmates involved in the plen to escape.

78. Saved on the informetion, the plen to escape wes
designed to kidnep the female laundry supervisor.

79. There were no doubte in plaintiff's belief the kidnap
of the female supervieocr would not cause her to suffer the grief

of physicel injury end/or sexual esseulte.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 16 of 59 PagelID#: 16

16

80. Being femiliar with the inmates, plaintiff sesumed the
kidnap of the femele supervisor could easily reeult in her death.

84. Plaintiff leceted the route to be used in the escape,
and the whereabouts of bolt-cutters, cer keye, cash money, dyed
tennis shoes, officer clothing, and an alleged forty-five(4s)
automatic weapon to effectuate the escape.

82. On or ebout 19 November 1991, plaintiff relayed to the
Unit Major the information saquired of the plan to escepe.

83, The informatian proved to be fruitful and productive,
however, the major belked on the sgresment to heve plaintiff
reclassified.

84. Ae a result of gethering the informetion, and possibly
gseving the herdehip of @ femele correctional officer, plaintiff
was placed in punitive segregation without e hearing, notice or
charge of any disciplinary or criminal violation(s).

85. In punitive segregation, plaintiff was denied clothing
(except underwear), bed linen, pillow and/or blanket.

86. Pleinciff wes denied possession of persanal property
and legel meterial, incoming and outgoing cerrespondence, visits,
and access to the courte and public officials.

87. Plaintiff wes esubjected to sexual harassment et the
whim of two(2) femele corrections! officers in the presence of
male correctional officers.

88. Plaintiff was uneble - and prison officials declined «
to inform Andrea plaintiff was confined in punitive segregation.

89. Andres drove over one-hundred-thirty(130) miles for a

vieit with plaintiff, which was denied by the unit administration
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 17 of 59 PagelID#: 17

17
failure to comply with the A0-03,85, '3

90. In en interview with the unit werden, major end IAd
investigators, plaintiff was interrogeted on the informatian af
the inmetees' plan ta escape.

91. At the interviesr, plaintiff compleined about the
conditions of being canfined in punitive segregation end was
assured the altuetion would be rectified; however, no such action
wae taken.

92. A ranking officer informed pleintiff that Andrea made
numerous phane calle - severel times daily - "worrying" the unit
administration.

93, The ranking officer stated Andrea wae highly upset and
in an uproer. . .something was happening end she was not receving
any mall from plaintiff.

94, According to the ranking officer, Andres threatened to
appeal to higher authority fer being denied communicetions with
plaintiff.

@5. On 10-11 Oecember 1991, after the elapse of twenty-one
(24) deye in punitive segregation, plaintiff was treneferred from
TOCU-I10 Eetelle Unit to the TOCJ-I0 Hughes Unit in Gatesville,
Texas. 14

96. On the day of plaintiff's errival, the Hughes Unit

Classification Committee questioned plaintiff on «@ report which

 

13). See Note 10, eupre.

14). on information and belief, Andrea's consistent
phone cells of concern prompted Estelle Unit administration
and the 80C to trenefer plaintiff.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 18 of 59 PagelID#: 18

48
implicated pleintiff in the actual plan to escape et the Estelle
Unit.

97. The Hughes Unit Clessification Committees was baffled by
the report ehich elleged pleintif® e perticipeant in the plan te
escape without punishment of disciplinary or criminal ection.

98, Plaintiff explained to the committee the fects as it
occurred and wes restored lase good time credits and promoted in
cleses and custody status.

$9. Andree was eslliowed to vielt plaintiff each weekend on
the Mughes Unit without dif fioulsy. 3

100. Pleintif® registered for enrollment in the four-year
college progrem offered by Tarleton State University; 18 however,

prier to being scheduled for classes, plaintiff® filed a complaint

 

13). Ones in 1992, the BOC erbitrerily removed Andrea's
name from the Vieitore List. When Andrea inquired, e member
of 800 alleged there wae documented information plaintiff
requested for her name to be removed from the list. The so-
called “documented information" is fPalee end plaintiff, et
no time, made the request. The 80C required plaintiff to
submit e formal change request for Andres to be replaosd on
the Visitors Liet.

Plaintiff submitted for the change end Andrea was
repleced on the list as "FRIEND" for non-contact visits.

The BOC demanded for plaintiff to eubmit e capy of
the "Ceclerations of Informel Merrilage" verified by a County
Clerk with oe request for change.

On 26 Meroh 1992, the clerk for Henderson County,
Texes, Me. Gwen Moffiet, stamped copies of the “Neclerations
of Informel Merrilage’ and filed sama with the Sureeu of
Vitel Statistice of the State Health Cepertment in Cese Nos.
3631 and 3632, Volume 1401, Pages 799, 800-801.

Duplicates of the documents were submitted to the
B0C. Andreata visiting statue wae shenged from "WRIENO" to
“COMMON-LAW WIFE" on the Vieltors Liet for contect visits.

8). at the time, TOCJ-I0 offered « four-year college
progrem et the Hughes Unit, eponeored by Tarleton Stete
University; et the Munteville/Walle, Ellis and Wynne Unite,
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 19 of 59 PagelID#: 19

493
with the IAD ageinet the warden and other TOCJ-10 employees for
“Gaerabling on State Property.”

404. On 12-13 April 1992, pleintiff wae transferred by the
BOC and Hughes Unit Administration toa the TOCU-I0 Bill Clemente
Unit in Amarillo, Texee.

402. On information and belief, the transfer was the reeult
of pleintiff Filing the "Gambling on State Property" complaint.

403. The Clements Unit does not have a four-year college
program and the distance of the tranefer required Andree to visit
plaintiff vie alr trevel.

404, Each callege semester, in response to college transfer
requeste, 17 TOCU-I0 Oepertment of Continuing Education approved
and recommended plaintiff and eeveral other inmates for ea college
transfer.

408. The S80C denied plaintiff ea college tranefer, and
treneferrad all the other inmates, approved and recommended by
the Oepertment of Continuing Education, to es TOCU-I10 unit with a
four-year college program.

408. Plaintiff concentrated to resolve legal iasues raised
on previous unit of assignmente, and sesisted other inmates in

legal ectivitias.

 

sponsored by Sam Houston Stete University; at the Coffield
Unit, sponsored by Stephen F. Austin University; end, at the
Remsey I Unit, eponsorad by the University of Houston at
Cleer Lake.

17). the “TOCJ-ID College Program Trensfer Request For
A Four-Year Degree" is a form for qualified inmate students
to complete and eubmit to the Eduoetion Ospertment on their
unit of aselgrment.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 20 of 59 PageID #: 20

20

407. Im e@ singuler incident, there wes a rumor Plainsiff
would be killed for sesieting an inmete in Filing »@ oamplaint
ageinet a renking correctional officer.

108. Pleintiff wes aware of the threat, but the source of
ite origin was not revealed.

108. The attempt on plaintiff's life resulted in plaintiff
susteining a broken Jew and bruises.

110. In effect, plaintiff was charged with the disciplinery
violation “Fighting without # weepon" end placed in detention,
when, in fect, plaintiff was the victim of the assault.

444. The eseseaultive inmate remained in generel populetian
without being charged with Canny] dieciplinary violetion(s).

412. Plaintiff wes denied medical attention for a broken
jew and the endurance of physicel pain end mentel enguish lasted
for 2% days, before the unit lew library supervisor intervened
end demanded plaintiff be given medical treetment.

413. In relation to the "Fighting without # weepen"” charge,
plaintiff was eleo charged with the fealee disciplinary violetions
of “Threatening an inmate” end "Out of plece."

414, At the dieciplinary heering, plaintiff was found guilty
of each charge and punishment was assessed at fifteen(15) days
disciplinary segregation, reduction in cless status end lose of
good time credits.

445. At the time, Andrea constantly complained to the unit
administration and her calle were treneferred to Plaintiff's
former casemaneger, Me. Linda Senders.

416. Me. Sanders relayed felee and deceptive information to
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 21 of 59 PagelID#: 21

21
Andrea concerning plaintiff's health end subsequent conditions.

417. On or ebaut 16 September 1832, the Bill Clements Unit
Administration and the SOC traneferred pleintiff to the TOCJ-10
Micheel Unit in Tennesase Colony, Texas.

418. On information and belief, the transfer wae a result
of Andres and plaintiff's complains end appeals to TOCJ officiais
about the incrimineting end false allegations of institutionel
vicletions end request for criminal prosecution of the inmate for
aseaulting plaintiff.

419. Andrea vietted pleintiff each weekend at the Michael)
Unit end plaintiff resumed aselating other inmates in their legal
ectivities; rarely, participating in any ection ta challenge the
prison conditions on the Michael Unit.

420. Plaintiff was reclassified (on schedule - after the
elapes of ninety(S0) days) and promoted in class statue with the
reetoration of loses good time credits forfeited by 8111 Clements
Unit Disciplinary Committee.

124. The reclassification of plaintiff restored eligibility
for perticipetion in the four-yeer college program and contact
vieitetion with Andrea.

122. At the time, plaintiff was receiving en annual Federal
Pell Grant to pay college tuition.

123. The DOepertment of Continuing Education approved send
recommended plaintiff and other inmates for college transfers to
e TOCU-ID Unit with a four-yeer college program.

124. The 80C declined to tranefer pleintiff for collage and

ransferred ell the other inmates ta the unit of choice on their
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 22 of 59 PagelID#: 22

22
college transfer request.

125. Plaintiff's weekly visite with Andree were monitored
and frowned upon by various Michael Unit correctional officers.

126. In a notable inetence, #@ cerractional officer would
teke home plaintiff's correspondings from Andrea and return the
following evening to execute delivery to plaintiff.

427. At the conelusion of a« visit with Andreea, plaintiff's
endurance of haerasament, from correctionel officers, sas at ites
higheet level.

128. A recorded inoident etem from plaintiff being denied
to make commiceary purchases by an officer previously sesigned to
the visitation sres.

129. The correctional officer pat-searched plaintiff and the
picturee of Andrea were taken from plaintiff's wallet, thrown to
the Ffloer, kicked end stamped by the officer.

430. On an tndicetion plaintiff would file a grievance, the
officer ordered and uehered plaintiff to the area deaigned for
outelide recrestion,.

4131. Outeide, and under the watchful syes of a eupervisor,
the officer made verval threats and attempts to provoke plaintiff
into a Ffistefight. Plaintiff's declinatian to rebel resultad in
verbel abuse end a physicel sesault on plaintiff's persan.

432. When e@ formal resolution failed, plaintiff flied a

writtencomplaint to the TAO an the officer and his supervisor. 18

 

(18). to the date of filing thie ection, pleintiff hes
not received any reply From the IA.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 23 of 59 PagelID#: 23

23

433. On 14 January 1993, the Michwel Unit Adminietration and
the 80C transferred pleintiff to the TOCJ-ID MeConnell Unit in
Seeville, Texas.

434. On information and belief, plaintiff's tranafer was the
reteliatory reeault of filing the compleint to TAO.

435. Each time plaintiff wae transferred, @® report bearing
false, discriminetory and/or deceptive information wae made apart
of plaintiff's classification records.

126. The edveree information was designed to bias decisions
of Unit Clessificetion Committees evaluating plaintiff far unit
assignments.

437. The MoCennell Unit does not have « four-year college
program; however, sech semester plaintlffr continued to submit a
college traenefer request.

438. The college trensfer would be epproved and recommended
by the Department of Continuing Education, but denied by the B80C.

439. At the McConnell Unit, pleintif® pursued legal issued
and Filed inmate grievances and complaints to chellenge the abuse
of euthority, practices and living conditions on the McConnell
Unit which were contrery to atate and federal guidelines.

140. Pleintiff nad an eacknowledgeaable reputation among the

correctional officials and inmates se being s "writewriter . 18

 

19). an inmate is labelled e “writ-writer"™ by prison
officials for filing grievances or litigations to challenge
the abuelve euthority of prison officiale for violations of
institutional policies, inmates' civil and/or constitutional
righte, and the stetutory requirements under the state and
federal guidelines.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 24 of 59 PageID #: 24

24

144. When e correctional officer filed a complaint ageinst
@ supervisor, which elleged effiliations with inmate pang-related
activities, 1t was rumored plaintiff filed the complaint.

142. On informetion and belief, the complaint resulted in
several job sesignmente being changed for those inmates under the
direct supervision of the complained of supervisor.

143. Acoording to a lieutenant 29 the unit administration
received information e sontrect was iseued on plaintiff's life
for the rumor alleging thet plaintiff filed the complaint against
the supervisor.

1444. The lieutenant geve orders for plaintiff to be placed
in tranelent or protective custody.

145. On 25 May 1993, at epproximately 11:30PM, plaintiff's
personal property end legal meterial was confiscated by severel
correctional officers.

148. On 26 May 1993, plaintiff was escorted to en ocutgoing
chain bus #4 to be transferred.

147. Oppesed to the TOCJ-I0 administrative policies and
procedures for transferring inmete, plaintiff wae not ellowed to
cerry hie persanal property and legal material eboerd the bus.

448. A verbel request for the names of the corrections!

 

20). the lieutenant wae responsible for the Falee and
eroitrery disciplinery eotion egeinet plaintiff on the Gill
Clements Unit. (See PARAGRAPHS 112-113). On information and
belief, the lieutenant wae promoted to the rank of captain
and treneferred to the McConnell Unit.

21). Abus designed for inter-unit treneportation of
TOCJ-I0 inmates.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 25 of 59 PagelID#: 25

25
officers responeibles for denying pleintiff's personel property
and legal material resulted in plaintiff being violently forced
ta the ground and shackled with leg irons end handcuffs.

449, In addition, a piece of steel chein wes seoursd to run
through the leg irons end hendcuffe which forced plaintiff into ae
etooped position with his head less than a foot from his knees.

450. Aboard the bus, plaintiff was pleced in the restricted
eection reserved for {inmates on administrative segregation.

181. The restrainte forced plaintiff into a oruel position,
producing e physical pain, mental strain end refraining plaintiff
from standing erect to relieve hie bledder, during many hours of
travel from the McConnell Unit in Seeville, Texes, to the TOCJ-I0
Darrington Unit in Resharon, Texes.

4S2. Plaintiff's verbal requests for lesser rastraint were
only humor to the correctional officers on the bus.

453. On or ebout 27 May 1933, the 80C transferred pleintiff
from Derrington Unit to the Hunteville/Wells Unit in Hunteville,
Texas.

454. At the Hunteville/Walle Unit, plaintiff wee placed in
security detention for complaining ebout his personel property
and legal material,

135. On or about Of June 11993, plaintiff was treneferred,
by the S80C, from the Huntsville/Wells Unit to the TOCJ-I0 French
Robinson Unit in Abilene, Texae.

156. The French Mobinson Unit does not sponsor ea four-year
college program; however, the Oepartment for Continuing Education

approved a previous epplicetion and recommended plaintiff for a
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 26 of 59 PagelID#: 26

28
college transfer. (The transfer was denied by the SOC.)

157. Andrea contected Ms. Gloria Cates of the Oepaertment
of Continuing Education end inquired into the arbitrary and
discriminatory deniel of plaintiff to participete in the advance
college programs.

158. Plaintiff filed grievences, wrote letters to TOCJ-I0
Regional Olrectare and was interviewed by unit wardens to sontest
the discriminatory deniel of a college transfer.

158. In an indepth correspondence to Cerol S. Vance, former
Chairman of Texes Board of Criminal Justice, plaintiff explained,
explicitly, the endurance of heraeement, discrimination, verbal
threats and physical essaulte in retelietion for perticipeting in
legal activities.

160. The ceorreependence contained information of how the
B80C erbitrarily discriminated egainst plaintiff by denying the
approval and recommendetion for a college trensfer.

161. On or about O2 July 1993, plaintiff's correspondence
wae forwarded by Susan Power-Mohenry, Administrative Assistent
to the Chairman, to Wayne Scott, former Olreotor of Cperetions
fer the TOCJ-I0.

182. Ms. Power-Mchenry inetructed Mr. Scott sccordingly:

“Gear Weyne: The attached correspondence wee received in
the Austin office. Pleese review end handlsa approprietely."

463. On 20 July 1993, Mr. Seott forwarded the information
received from Ms. Power-McHenry to Marshall Haerklotz, the former
TOCJ-I0 Regional If Olrector, with inetructions, as follows:

"lease, have e member of yor staff interview irmete
Eddie Jeffery, #376862, in reference to the attached letter."
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 27 of 59 PagelID#: 27

27

164. On %3 August 1993, Me. June Groom, a former Ragianal
IY TOCU-I10 Aeeletant Oirector, forwarded to the Robinson Unit
former senior warden, Ronald Drewery, the information received
from Mr. Herklotz.

485. Ms. Groom inetructed Mr. Orewery sceordingly:

“The attached le being forwarded to you for your review
and action. Please, return the ettached information alang
with your response to this office no later then 9-10-33."

168. Although the instruction to Mr. Orewery were precise,
the results were to no avail. The unit adminietratian and the 80C
continuously denied plaintiff e college transfer.

467. On oar about 28 December 1993, an inmste was brutally
murdered in his housing on the French Robinson Unit.

168. Initially, the cause of death was considered suicide -
before the body was examined and ravealed foul-plaey.

469. RAumore and canflietione surrounding the inmate's death
confused the TAO and locel etate officials.

170. The confusion tied the hends of suthority, as the news
media end family members screamed for epprehension of the siliant
perpetrator(s).

171. The news media end family members’ concern escalated
and the TOCJ-10 officials were unable to locate a suspect and/or
produce a motive for the murder.

472. At the time, plaintiff was providing legel assistence
ta another inmate.

473. The inmate was under en “official watch" for allegedly
being aeperty to the murder offense.

474. The ect of providing legel essiatance for the innate
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 28 of 59 PagelID#: 28

28
pleced plaintiff under “official watch" and questioning sbout his
legal eesistance.

475. In an interview with the eenior werden, Mr. Ranald
Drewery, end the IA0, Cept. Srady, plaintiff was recruited in a
“sropositiaon”® to aseist in exposing the inmete(s) reeponsible for
the murder.

178. The “sreposition" for pleintiff's assistence wes «
trenefer to e unit offering the four-year college program.

177. Pleintiff agreed and provided Capt. Srady with a tape
recorded confession from the inmete suspected of committing the
murder.

178. The TOCJ-I0 Unite offering e four-year college program
were hundreds of miles cleser to Andree, «as opposed to unites the
BOC seamed to enjoy transferring plaintiff.

179. The possibility of »# pending transfer for college wae
a relief to plaintiff end Andrea,

180. On information and belief, pleintiff and Andrea were
in mutuel agreement the 680C transferred plaintiff farther away
from Andrea etrictly ta inflict mental and emotional tension. . .
factors typically resulting into the resolution of a marriage.

481%. Andrea made e phone call to the 80C end inquired about
plaintiff's pending transfer.

1862. In e rude reepense, a member of B80C informed Andree
thet pleintiff “weuld not be traneferred enyshere close.

183. On 22 June 1994, true to words of the BOC spokesman,
plaintiff wes transferred hundrede of miles away, from the French

Robinson Unit ta TOCJ-fTO Sill Clements Unit in Amarillo, Texas.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 29 of 59 PagelID#: 29

29

484. Ae previously mentioned, the Bill Clements Unit does
nat have a four-year college program.

185. At the S811] Clemente Unit, plaintiff? became helpful to
other inmates in thelr legel ectivities end challenged conditians
and situstione on the unit.

186. Plaintiff's action required strenucus legel research
and information held by the unit edministretive personnel.

187. The information was accessible to inmates under Texas
Open Records Act, by Ffrequest ta the unit custodian of records,
Ms. Sanders.22

488. Me. Sendere became very impressed with plaintiff's
awereness/knowledge of lew and sought [personal] legel assistance
in an elleged oriminal appeal .23

1989. Plaintiff provided the essistence end complained af
the act to the IA.

190. The IAO did not take immediate ection, but insisted
plaintiff would be transferred to s unit offering «a four-year
college program for cooperating to “bust” Me. Senders.

4191. Plaintiff egreed, and the IAD findings resulted in the
termination of Me. Sanders! employment with the TOCJ-I10.

492. On 15-16 February 1995, plaintiff was trensferred by

the S8Ll1 Clements Unit sdministration to TOCJ-I0 Coffleld Unit in

 

22). Me.Senders wae plaintiff's former casemeneger on
the Bill Clements Umit. (See paragraphe 115-116.)

23). This type of binding relationship between e TOCJ
employes and inmate is strongly prohibited uncer a policy of
the TOCJ Employees General Rules of Conduct.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 30 of 59 PageID #: 30

30
Tennessee Colany, Texes.
193. Plaintiff's saie desire was to cosplete the curriculum
for e BSecheler degree end enroll into the Mester program.
4194. Thus, each semester (aince 1991), plaintiff submitted
@ college transfer request to TOCJ-IN Depertment of Continuing
Education to pertialipete in the four-year college program.
4193. Plaintiff's primary choles for e Ffour-yeer college
degree wae Stephen *. Auetin Univeraity at the Coffield Unit.
198. At the time of pleintiff's arrival, Stephen f. Austin
University wae in the process of cencelling ite TOCJ-I0 program.
4197. In tight of this, plaintiff eubmitted an additional
eollege transfer request to attend Sam Houston State University;
however, the 80C sentinued ta deny plaintiff's approved trenafer.
198. Plaineiff Filed grievances, endured hunger strikes and
complained in written correspandence to the office af the TOCJ-I0
Regional Oireotors and Texae Oepertment of Criminal Juetice for
redress of the discriminatery dsnial of a college transfer.
199. Plaintiff's grievances for redrase were denied and the
hunger etrike at the Coffield Unit was te mo avail.
200. In @ fresponee to plaintiff's correspondence to the
office of the Regional Olrectore, Mr. Brickham stated:
"Your exhaustive recantation of your iroerceration end
diligenc pursuit of educetional opportunities hes been
reviewed. While you my review your tranefore es retallatory
end diacriminatory in nature, the reason fer this is ta
protect you during your incerceration. No eation. . ."*
2041, On 16 April 1998, the 80C's blatent response on a copy

of the cellsge tranefer request stated:

“Enemy on #4 C&llie Unie) 8 escape history."
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 31 of 59 PagelID#: 31

314

202. Plaintiff wes unaware af an “enemy” on the Ellis Unit
and the (feleely] alleged “escape hietory."

203. In reeponse to plaintiff regarding sn enemy and escape
history, the unit classification committee reeponse etated:

‘Wheat ere you talking about?”

204. The unit olaseification resord end computed dete oan
pleintiff did not show any enemy or escape hietory.

205. The B8O0C conetant transfers of pleintiff imposed a heevy
burden and « greet deal of emotional strein and anxiety on Andres
and plaintiff.

208. Plaintiff end Andres endured distreseing emotions
eroused by en impending danger of plaintiff's phyeical safety and
mentel setete.

207. While et the Coffleld Unit, in order te overcome the
hardehip, pleintiff resigned to study self-educationel courses.

208. Andree supplied personal funde for plaintiff to enrell
in a correspondence course for perelegal/legel essistent.

203. Pleintiff refrained from all legal eetivities and
e@esisting other inmates in actions involving the conditions of
prison confinement.

210. Andrea vielited plaintiff each weekend at the Coffield
Unit, end - as expected - the usuel haresement, bles end raciem of
TocJ-Ir0 employees were feotors to encounter. However, these
factore did not escalate until the aepring of 1996.

211. It eppesered eae customary unit practice for Me. Vernon
to operate the computer during weekend visitation.

242. On Information and belief, it wes during this time
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 32 of 59 PagelID#: 32

32
Ms. Vernon became knowledgeable of Andrea's weekly visits with
plaintiff, and her (Andres) former employment with the TOCJ-I0.

213. The knowledge Ms. Vernon acquired of Andraa'ts former
employment with the TOCJ-I0 produced bias toward plaintiff and
Andrea - individually and collectively.

214. On occasions, Ms. Vernon threatened ta have Andrea
removed from the Visitors List, beceuse of her former employment
with the TOCJ-ID0.

215. Mae. Vernon does not have delegated suthority to imply,
remove, or threaten to have a visitor removed from the Visitors
List.

216. Me. Vernon threate were heressment to cause distress,
and an attempt to weaken Andrea's desire to visit plaintiff.

247. On 15 May 1996, in an tndividual instance against
plaintiff, Ms. Vernon provoked and encouraged Ms. C. Bowman, an
LYN, to override and delete plaintiff's medical restrictions to
support a disciplinary violation that was contrary to plaintiff's
medical requirements.

218. On information and belief, when Me Vernon became aware
of Andraa's prospective employment with Correctional Coraporatioan
of America (CCA),#4 she (Ms. Vernon) contactsd the CCA Personnel
Offica and discouraged the company to employ Andree.

21S. On information and belief, Ms. Vernon informad the CCA
Personnel Office that Andrea's husband was an inmate at TOCJ-10

Coffield Unit.

 

24). The CCA is a private prison facility.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 33 of 59 PagelID#: 33

33

220. Andrea's original epplication for employment with the
CCA contained the required information concerning her husband's
(plaintiff's) incarceration.

221. The erbitrery and bias discouregement damaged Andrea's
opportunity for employment end resulted in the lost of peresnal
funde fer the soet of CCA uniforms, tuition for the corrections!
officers security training, trevel and ecorued expenses.

222. On 29 June 1997, when Andrea arrived at the Coffield
Unit te vieit plaintiff, Me. Johneon informed Andrea thet her
visite with pleintif? were being termineted.25

223. Me. Johnson stated, “. . .A new rule preclude a former
TOCJ employee to visit inaetes.”

224. In addition, Me. Johnsen ateted, Maj. Smith remembered
Andrea from the unit of her former employment, end per the senior
werden *. . After todey, you will no longer be ellowed to visit
your husbend.“

225. Andrea hed limited interesction with Maj. Smith, »s
supervisor on the TOCJ-I0 Ellie Unit, during her (Andres) former
tenure with the TOCU-10,28

226. On information and belief, Mej. Smith was present and
aware of Andrea's weekly visits with plaintiff et the Coffield

Unit for well over two(2) years (February, 1995, to June, 1997).

 

25). we. Johneon is @ colleague of Me. Vernon.

28). When plaintiff wee at the TOCJ-I0 French Robinson
Unit, Maj. Smith wae @ building captain end (well) ewere of
Andrea's weekly vielte with plaintiff, From June, 1893, to
the time of hie (Maj. Smith's) promotion and transfer to the
TOCI-ID Coffleld Unit.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 34 of 59 PageID #: 34

34

227. Maj. Smith was Family Lisieon Officer the weekend Me.
Johneon informed Andrea her visits were being terminated.®7

228. The stetutory requirementa end guidelines of the TOCJ
does not delagate authority for Ma. Johnson to act as the Family
Liaison Officer during inmates' visitation.

229. The eaetion of Me. Johnsen can only be considered to
harase end intimidate a visitor.

230. As the family lieison officer, Maj. Smith, declined to
discuse the termination of visitation with plaintiff and Andres.

231. On O6 July 1997, Andree did not errive for ea visit and
Plaintiff wes upset, egitated end worried.

232. Ine correspondence, Andrea notified plaintiff she had
contacted the Coffield Unit Administration on July $, 1997, prior
to trevelling for a visit, and was informed her name was removed
from the Visitors Liat.

233. On or ebout 10 July 1897, in an informel request for
information on Andrea's visitetian statue, plaintiff? was informed
Andrea was no longer on the Visitore List.

234. Plaintiff nor Andreea were given notice of the removal

of her from the Visitors Liet, nor were there any notice of the

 

27). “The director shell dealgnate one employes et each
unit to serve ee the family lieison officer for the unit.
The family liaison officer shall facilitate the maintenance
of ties between inmates and their femilles for the purpose
of reducing reoidiviem. Each family liaison officer ehall

(3) Aansiet Lrmates' relatives and other persons during
their vieite with inmates and aid those persons in resolving
probleme that may effect permitted contact witi) inmates."
(V.T.C.A. Government Code, § 500.012).
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 35 of 59 PagelID#: 35

35
"specific reason(s) for the edministrative action, "28

235. On 11 July 1997, plaintiff aonfronted warden Upshaw
ta inquire ebout the removal of Andrea from the Vieitore List.

236. Werden Upahew vehemently and malisiously exclaimed,
“We doen't hire employees to fall in leave with convicts!"

237. Pileintiff informed Warden Upshaw of the admintetrative
failure to provide notice of the specific reason(s) for removal
of Andrea from the Visitors List.

238. Werden Upshew replied, “Yeu'll be notified!" with e
shoo-shoeo hand gesture for plaintiff to depart.

239. In retrospect, pleintiff and Andrea were denied merite
to appeal the eadainistrative decision.

240. At the time, plaintiff wes working se Support Service
Inmate (SSI) Housing Orderly epproved by the Unit Cleseification
Committes.29

244. Aw a reeult of being *. . married te a former TOCU-I0
euployee,* it. Thompson repeatedly had plaintiff's job eseignment
changed.

242. The Jeb eselgnmente were shenged For plaintiff ta
perform duties contrary to his medicel status or restrictions.

243. An attempt fer informel resolutian ta it. Thompson's

 

28). See note 10(3) at page 13,eupre.

#9). ‘the Unit Cleseification Committees must approve an
inmete for Support Service (SSI) aesligrmente to provide the
janitorial services in housing areas, buildings or hallways
which provide continuous scosse to the housing aereas.
(V.7.C.A. Goverrment Code, § 500.001; Peragraph III(CA),
AUIZ Finel Judgement; TOC) Administrative Oirsctive (AD-
04.72 (Rev.1)(June 26,1995)]).
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 36 of 59 PagelD #: 36

36
supervisor, Capt. Boatic, was to no svail.

244. Capt. Sostic informed plaintiff, "I must ge elong with
my lieutenent, if he dees not like an inmate.”

245. Pisintiff confronted Mr. White and Mr. Meye to report
the behavior and misconduct of TOCJ-I10 employees which violated
institutional policies end statutory requirements.

248. Mr. White end Mr. Maye declined to teke action, or
intervene, by steting, there were no violations of any TOCJ-10
poliotes or setatutory requirements.

247. Om 28 July 11997, in eo pereonal correspondence to the
CAC, Andree explained the eltuetion on the Coffleld Unit which
denied visite with pleintift,

248. The correspondence expressed Andrea's astonishment at
being arbitrarily removed from the Visitors List without incident
or rule infractian.

243. Andrea requested ORC replace her on the Visitors Liet.

250. On 28 July 1997, plaintiff Filled « grievance.

251. On O68 Auguet 1997, in response ta Andrea's personal
correspondence, the ORC stated:

"Ceaer Ms, Jeffery;

May thie ecknowledge raceipt of your correspondence to
the Olrector's Aeview Committee (ORC) requesting reinstate-
mant of visitation privileges «ith offender Eddie Jeffery,
TOs: 374852, Coffield Unit.

Your letter was read by each committee member. However,
efter cereful review and consideration, it was the decision
of the conmittee with the unit werden spproval, to not grant
your request; your meme will mot be edded to the List of
approved visitors for offender Jeffery. This deolaion may be
appealed efter six months have elapesd."

252. On O68 Auguet 11997, prior toa a response From the OAC,

Andrea submitted a langthy complaint to the OAC expressing the
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 37 of 59 PagelID#: 37

37
fellure of TOCJ-10 employees to comply with rules of the TOCJ-I0
Inmate Visitation Palicy (A0-03.85].
253. The OAC did not respond to thet perticuler complaint.
254. On 17 Auguet 1997, Werden Moore denied pleintiff'’sa
adminietrative grievance, stating: |

Visitation is e privilege. In ae much it is the Warden
dieeretion to deny anyone on your liet. Grievence denied.*

255. On 12 August 1997, plaintiff appealed the desision of
Warden Moore to the Regional Olrector.

236. On 20 October 1997, the Megional Olrector, Mr. Warren,
responded to the sppeael, stating:

“Appeal denied. Investigation reveele the warden chose
to deny this visitor as possible seourity risk. Thies denial
was reviewsd by the Olrector Review Committees and the denial
wae upheld. As you were advised, viaitation is a privilege
and the warden can deny a visitor which ie considered to be
@ possible security risk.”

257. Pleintiff seserte, prior to the removel of Andrea from
the Vieitors Liet, she had visited plaintiff almoet 25 years, for
every weekend at the Coffield Unit, without eny incident(e) or
rule infraction(s).

258. In conjunction with weekly visite, plaintiff end
Andree actively participeted in the merriage/femily end parenting
seninere, and Mothers Oay events, sponsored by the Coffield Unit
Chapel in affiliation with free-world religiaus organizations.

253. Each of these events were held ineide the Cofflield
Unit Education OQepertment, Unit Chapel and/or Unit Oining Room.

260. At no time during thess avente did plaintiff or Andrea

present e« threst or any indication their perticipeaticn or weekly

visits on the unit could rasult in @ poseible security risk.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 38 of 59 PagelID#: 38

36

261. There ie mo evidence to support the Coffield Unit or
the ORCts arbitrary and conepicuous eallegations in response to
legitimate appeal.

262. On O68 November 1997, the SOC transferred plaintiff to
the TOCJ-I10 Elife Unit in Hunteville, Texas.

263. The Ellie Unit Classification Committee consisted of
Me. Maxey, Capt. Spivey and Maj. Brock.

284, Plaintiff entered the office for unit classification
and Maj. Srock was in the motion of tendering a document to Capt,
Spivey and Ms. Maxey. The document was from among the paepere in
Pleintiff'ea unit claselifisation folder.

285. On infermation and belief, the document was from the
Coffield Unit administration bearing negative and discriminatory
contents to bies the evaluation of plaintiff on unit essignments.

266. In light of the document, Mej. Brack declined to hanor
plaintiff's job eseignment status as SSI end restricted plaintiff
to cellbleck housing restriction.30

267. Mej. Brock erbitrerily declared plaintiff had medical
restrictions which barred the 8SI jab essignment.

268. On or about 29 December 1997, plaintiff confronted the
former senior werden, Bruce Thaler, about raplacing Andrea an the
Visitors List.

269. Warden Thaler instructed pleintiff to get e capy af the

Vieltation form From the Becorde Office and submit tt to the Unit

 

30). The Ellis Unit consist of cellblock end dormitory
housing. Plaintiff's restriction to cellblock housing "ONLY"
fe contrary to any previous unit classification status.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 39 of 59 PagelID#: 39

32
Classification Committee, Me. Maxey.

270. Pilaeinsiff complied and hand-delivered the farm to Ms.
Maxey.

27%. On 31 November 1997, Andrea's name wee replaced on the
Vieitore List as “FATENO.'™

272. On oar about 31 Oecember 1997, e@ "NOTICE TO OFFENDERS"
was posted in the Ellie Unit nhallwey.

273. The notice referrad toe an alleged scopy of the original
bulletin to emend the Inmate Visitation Policy [A0-03.85).

274. On or abeut O03 January 1998, in receipt of «a caapy of
the Vielitors Liet with Andrea as "FRIEND", pleintiff forwarded the
copy to Andrea vie U.S. Mail with oa written notification.

275. On OS Jenuery 1998, in ae phone convereation, plaintifFr
inetructed Andreae to disregard the visiting status, but, before
travelling to vieit, contact the Ellis Untt administrationes for
cleerance.

276. On 10 January 1998, in a phone convereetion with the
Ellis Unit adminietretion, Capt. Spivey inetruoted Andrea it was
approved for her to visit plaintiff.

277. On 44 Jenuery 11998, during the regulerly schedulad
houre for visitation (8AM to SPM/Saturdaye and Sundays), Andrea
errived eat the Ellie Unit to vieit plaintiff.

278. At the checkpoint of antry to the Ellis Unit compound,
the sorrectionel officer-in-charge informed Andrea Capt. Spivey
denied her vieit with plaintiff.

279. Andrea trevelled scver 130 miles for a visit and a

verbal requeat to telk to a warden or someone ebove the rank of
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 40 of 59 PagelID #: 40

40
captain sas to no evaeil,

260. The of ficer-in-charge provided Andrea with » copy of
the latest "Modified Visitation Policy Current/Former Eaployeas"
bearing the signature of Warden Staples.

284. Plaintiff eweited the errivel of Andrea without any
notification of » denied visit.

262. On 12 Jenuery 1898, Andrea contacted the Ellis Unit
administration and was seeursd Warden Steples was meeting with
the other asesistant warden end the senior warden to discuss the
matter.

283. On 12 January 1998, pleintiff wae provided a written
notice From Capt. Spivey denying Andrea's visit, end a copy of
the Visitors List from Ms. Maxey with Andrea's neme deleted.

#284. In a conversation with Me. Maxey and the former sentor
warden, Gruce Thaler, Plaintiff was inetructed to resubait a
Visitation Request form in six(S) monthe for changes to heve
Andree replaced on the Visitors List.

285. On O08 July 1998, per Bruce Thaler, plaintiff requested
from the Records Office a copy of the Visitation Approvel Form For
Current/Former TOCJ Employees. (There was no reply!)

286. On 239 July 19986, plaintiff was informed by the Office
of Unit Clessificetion to request e copy af the AO-2 form (the
Visitation Approval form For Current/Former TOCJ Employees) from
Me. Moore at Inmate Recorde.

287. In response, Me. Moore stated:

"We do not have any A0-2 form. There is ae placa an the

AO-1 (Visitation Form) to check if the person is a former
TOC Emp."
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 41 of 59 PagelID#: 41

44
288. On 10 Auguet 1998, plaintiff submitted a visitation
chenge request to add reletives and Andrea to the Visitore List.
289. On 17 Auguet 1998, pleintiff received # copy of the
approved Visitors List from O. Oowns with o note, stating:

‘andrea Jeffery can not be edded to your list per your
family history.”

290. On O02 September 1998, plaintiff submitted his eecond
administrative grievance to challenge the denial of replacing
Andrea on the Visitors List.

281. On 04 September 1998, Andres submitted her second and
emotional correspondence to the ORC for her name to be replaced
on the Vieitors Liet.

292. On 23 September 1998, plaintiff's grievence wee denied
by Warden Williemean stating:

"You heve violated the grievance procedure by exceeding,
eatebliehed time limite for filing. Said procedure clearly
states you must file your grievance within ‘15 daye of the
alleged incident. Sased upon the stated vicletion ro further
action will be taken by thie affice."”

293. On 26 September 1998, pleintiff eppealed the decision
of Warden Williemman to the Aegional Olrector.

294. On 13 October 1998, in "Review of Reappeeal For Former/
Current TOCJ Employee Requesting To Visit," Mr. Johnsen danied the
epproeval for Andrea on the Visitors List.

295. On 14 Ostober 1998, in responee to Andrea's second
correspondence, the ORC stated:

Meer Mre. Jeffery;

May thie ecknowledge receipt of your correspondence to
tie Oirector's ABeview Committee (DAC) requesting vieltatian
privileges be reinstated with offender Eddie Ray Jeffery,

TOCJ-IO# 376862, Ellis Unit.
Eech committes member end Olivision Olrector read your
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 42 of 59 PagelID#: 42

42

letter. Nowever, after careful perveel and deliberation, it
wae the declielon of the Oivielon Olrector and thie committees

to not grant your request; your name will mot be added to
the list of approved vielitors for offerder Jeffery. This
deciaion may be appealed efter eix months have expired.”

286. On 21 October 1998, in response to plaintiff's eppeal,
the Regional Oirector, Mr. Lewis stated:

“The remedy you request te not available ta you through
the grievance procedure. Contact unit officiele informally
for help. No motion will be taken by thie office."

297. On 30 October 1898, plaintiff hand-delivered to Unit
Classification Committee, Ms. Maxey, the originel grievance end
appeel bearing the response from Mr. Lewis, slong with an inmate
request to appeer before the Unit Claesification Committes for
informe! resolution.

298. On or eboeut 11 Maroh 1999, in light of the response
from Mr. Lewis, Werden Morgen ineured plaintiff the situation
eould bse informally resolved,

299. Werden Morgan instructed pieintiff to forward the
response from Mr. Lewis to hie (Werden Morgen) office.

300. On 15 Mereh 1999, plaintiff sonfronted Me. Maxey and
demanded a return of the grievances? in order to forward sama to
Warden Morgen.

301. On 15 Mereh 1899, plaintiff eubmitted the grievances
to Werden Morgan, with a written correspondence in reference to
Me. Lewie’ direction for unit officials informal help.

302. On or aebout 18 Mereh 1998, in return of the grievences

 

31). Ms. Maxay twld possession of the grievances for
almost five(S) monthe (Oetober 30, 1998, to March 15, 1999)
without eny response, or ection for infarual resolution.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 43 of 59 PagelID#: 43

43
and correspondance for Warden Margan, Assistant Warden Hauszel
simply steted:
‘Mequeat denied.

303. Plaintiff epprasched Werden Morgan in the main hellway
and referred to Wardan Heuszel's refusal ta replace Andrea on the
Visitors List.

304. Warden Morgen palitely informed pleintiff the matter
wes turned over to Werden Heuezel, and instructed plaintiff ta
“Get with Werden Heuezel.”

303. On or ebout O1 April 1993, plaintiff was celled for an
interview with Warden Neuezel.

308. The interview wae sctionsed et the unit classification
office, in tha presence of eae building major and Capt. Spivay.

307. Werden Heuszel stated that he (Warden Heuszel) end
Warden Mergen hed egreed to repleos Andrea on the Vieitores Lilet
for “non-contact visitatian."

308. Pleintiff was inetructed to send Warden Heusezel 2
visitation change request to replace Andrea on the Viesitore List.

308. On O71 April 1889, plainciff eubmitted the visitation
shange request to Warden Heuszel along with an Inmate Request per
hie (Werden Heuszel) instructions.

310. In @ cerrespondence to Andrea, plaintiff explained the
agreement of Warden Heuszel and Werden Morgen to replecse her an
the Visitors List.

341. However, contrary to the desielion of Warden Morgan,
Andrea wae not replaced on the Visitors List.

312. On 04 May 1898, plaintiff was reolassified for Support
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 44 of 59 PageID#: 44

44
Service (SSI) Clerk.3@

343. At the time, Warden Hevezel was acsting chairman for
the unit classification committes.

314. The unit classification committee approved plaintiff
for SSI Clerk and plaintiff inquired of Warden Heuszel the reason
Andrea wes not replaced on the Visitors List.

3145. Warden Heuszel stated that he (Werden Heuszel) could
not find any record of plaintiff and Andrea's marriage status.

316. Plaintiff informed Warden Heuszel there were documents
in hie (plaintiff) unit and central classification files itn full
compliance with the Inmate Visitetion Policy [AD.03.85].

3417. In addition, plaintiff informed Warden Heuszel there
were coples of those documenta in plaintiff's possession.

318. Warden Heuszel arrogantly replied, “Well, I didn't see
anything!" and dismissed plaintiff.

319. At the time, over six(6) months had elapsed since the
DRC denied Andrea's request for reinstatement on the Visitors
List.

320. Andrea submitted her fourth correspondence to the OAC

requesting visitation be rainsteted with plaintiff.

 

32). sst Clerk is « Support Service Inmate sepproved by
the Unit Classification Conmittase to perform clerical tasks
involving non-sensitive unit records. The SSI Clerk provide
typing, filing, end other related gervices for staff nembars
in an envirorment which contains sensitive information kept
inaccessible from all inmates. Typing and Filing must be
performed undar direct supervision of a staff member. If no
supervigzion is pogsible. . .the site should ba seoured. . .
(V.T.C.A. Government Code, § 500.001; Peragraph III(A),
Ruiz Finel Jucyement; TOC Administrative Olrective [AD-
04.72 (Rav.1) (June 26, 1995)]).
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 45 of 59 PagelID#: 45

45
324. On G7 July 1893, in response to the caerrespendance,
the ORC atateds
“Qear Mra. Jaffury ;

Your correspondencs requesting vieltetion privileges be re-
inatated with offender Eddie Jeffery, TOCJ-IO# 376862, Ellis

Unit hes been received and reviewad by the Olrector’s Review
Comnittee (ORC).

Current/former employees are not allowed to be pleced on an
offender's visiting lLiet for a period of 24 manthe from the
date of the employee's seperation from the Agency unless:

4. The reletiaratp wee established prior to the
offender’s incarceration; sn

2. While emlayed with the TOCJ-ID, the ourrens/
former employee reported the relationship to
Aganay officials in aocerdence «ith FO-21,
“Seployee Generel Rules of Canduot;" end

3. The ourrent/forser employee ie aepame, child,
eieter/brother, elever~in-len/brother-in-lan,
aother/father, sother-in-law/father-in-las, or
grandeather/grendPather of the offerder.

After expiration of ths 24 month period, the former employee
rey request reinstatement of visitation privileges throush
ORC end concurrently, it le the offender's reaponsibility
to requeet the former employee be acded to hie visitation
liet by submitting an 80-2 form through the Wardan to ORC.
A former amployee neme sennot be reinstated to en of fercder's
visitation List without the offander's submiselan of an 80-2
farm. Se edviced that documentsd security concerns (for
sxenupla, delivery or ettenpted delivery of contraband to the
offender while etill an employee) may be the cause for
disapproval of the request.

Qur recerds indicate that you ere alicible for consideration
to receive visitetion privileges because you heve been
seperated Prom the Agency for 24 months. Fech comlttee
meander read your letter. However, after careful perusal and
deliberation, it wae the decision of the comnlttes, ekith the
approvel of the unit warden, to not grant your request; your
neme will not be edced to the list of approved visitors for
offender Jeffery.

Thle decleion may be appealed efter eix months have expired;
end you may request to be rainstated to offender Jeffery's
vieitetion liat ered cfFender Jeffery must susmit an RO-2
form."
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 46 of 59 PagelID#: 46

43

322. Plaintiff? asserts the information pravided by the ORC,
in reference to current/former TOCJ-I0 employees wee [partially]
added to the revised Inmate Visitation Policy [A0.03-88) and
effaative 20 November 1997.

323. Andreea hes been separated From the TOCJ-I0 for nine(9)
years and, at no time, during her tenure with the TOCJ-I0 ware
she and pleintiff involved in any acts of illieit behavior or
misactions.

324. In order to substantiate the fact thet plaintiff and
Andree were net involved im aations contrary te the TOCJ policy,
Plaintiff filled a formal complaint with the TAD for investigation
and poly jraph examination. (The IAD felled to reepond to the
complaint).

328. To this date, there has been no "specific reasson(a)"
for the removel of Andrea from the Visitors List.

328. The 20 Navamber 4997 "Notice to Offenders” contradicts
the "Modified Visitation Policy Current/former Employees" handed
dawn by the director of the Tocu-10,33

327. The TOCJ-I0 inmates heave not bean notified by bulletin
or any other means of the revised visitation soelicy pertaining toa
the O07 July 1989 B80C csorreespondence/raesponse to Andres.

328. Pimintiff maintains that prior to being removed from

the Visitors List, before the changes in tha Inmate Visitation

 

33). Plaintiff dees not have acoese to coples of the
notice, revised or modified Irmate Vieltation Palicy since
20 November 1997. However, plaintiff shel! sese production
of thean documents, by sotion for disclosure for benefit of
thie Court.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 47 of 59 PagelID#: 47

47

Poliay, Andrea visited plaintiff weekly without rule infrections.

329. On information end belief the defendents executed a

personel attack on the marriage of plaintiff and Andrea.

330. Aacording ta the TOCJ-I0, the primery objective of the

Inmate Visitation Poliay ie set farth on the front page of the

AO-03.85 (Rev.2), stating:

"SUBJECT: INMATE VISITATION

t Seotion 800.010, 300.011 end $00.012, Government
Code; Seation 20.02(d), Texme Pensl Code; The Stipulation

Modifying Crowding Provisione of Amencied Oscree,
VII.), Puiz iv, Lynaugh, Civil Aotiom No. H-78-387-CA, May,

1985...

(Section

a To establish uniform policies end procedures for

the implementation of the inmate visitetion progran,

POLICY: It is the policy of the Institutional Divielon of
Texas Ospertment of Criminal Justice (TOCJ-ID) te enable
and encourage Lanctes, conalatent with Atanil, seabinn and clasai-

fication srectaaints, to have visits with fan

frcenda.

Visiting in the Institutional bivielon went one ps

conducted in an ecaosmodating manner, in keeping with needs
to maintain order, the safety of pareons and the sscurity of
the institution. Irmate vieitetion shell be cenducted in
accordance with srovisians of thie Adminiatretive Olreetiva
and under the diresotian of each Unit Warden,

OXSCUSSION: Thies Administrative Oirective fe being issued
fer the purposa of establishing = uniform irmate visitation
policy for the Department, es required by Section 500.010
(es adctact by Section 35 of Senate 3111 245, 7Oth Legislature
1987), ond in esccordence with the provisions of the Aulz
it Stinuletion. . . Vieitetlon a recognized ca an
int component of the rehabilitation paececa, and,
auch, ita process ia eatablished in this Adniniataative
Dinective te fellow the Least neataictive paotecol aa
peesible. Thia feailitetes = positive end meaningful
envirorment for visitation. Contact visitation is recognized
es a privilege, in thet, irmetes epproved for contact visits
may be temporarily restricted from aontact visitaion dus to
violation of inatitutionel rules. . . .” (italice plaintiff)

331. The modified vieitetion pelisy sand
changes does not have a holding clause aa being

eppliceble to inmates prior to 20 November 1997,

{ts eubsequent

Patroasctively
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 48 of 59 PagelID#: 48

48

332. The defendants have ected deliberately end maliciously
gaentrary to the TOCJ-ID Inmete Vieltatian Polley, in respeet to
inmate “vieitetion as en integel component af the rehablliitation
precese.“

333. On information end belief, there exist an Cunjwritten
TOCJ-I0 policy for ite employees ta protect each eather in any
eituetion involving the integrity af thelr employment and/ar the
TOCJ-10 egency.

334. The defendente heve ected deliberately and maliciaualy
in a aonmepirecy to cover-up diecriminatory behavior end personal
biee with a wenton end unnecessary infliction of pein thet serves
na legitimate pensicgioal objective(s).

335. On infermation and belief, the defendants promote and
eendone acte of racial, sex and employment discrimination, ee it
ie preaticed throughout the TOCJ-I0 inmate populetion, ranking of
the TOCJ sorreational steff and other employees.

336. The disoriminatory sct of each defendant is designed
to deprive pleintiff the equal protection of the laws, or equel
privileges and immunities under the lawe, and produce a hostile
enviranaent and influence in the egenay.

337. The discriminetory behavior of eech defendant is an
aot of cruel and unusual punishment to infllet mental anguish and
distrees.

338. Ae a result of the defendants’ sanduct and behavior,
pPleintiff hes lost focus end been denied an "“intergal camponent
ef the rehabllitcation procees” to reform and reconstruct hie life

and behavior for the benefit to serve in a free soolety.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 49 of 59 PagelID#: 49

49

339. On G2 August 1999, Following the ORCte denial of being
repleced om plaintiff's Visitors Liet, Andrea filed e# petition
for divorce against plaintiff,

340. The petition for divorce wae the ultimate result sof
the defendants erbitrery and discriminatory conduct, in their
denial of Andrea to visit plaintiff.

SLAINS FON RELIEF s

344. The actions of each defendant member af the 80C, In
their retaliatory trensfers of plaintiff and perisdicel ramovel
af Andree from the Visitore Lilet eitheut reaeon, incident or
TOCJ-I0 rule infraction, were done osonspiringly with « raciel,
meliciaus and sadistia intent to deprive equel psroatectian of the
laws, or equal privileges end immunities under the lews, end
conetituted a denial to freedom of assoctetian, crusl end unusuel
punishment to inflict mental enguish and discrimination, in
violation of the Firet, Eighth and Fourteenth Amendmente ta the
United Stetes Constitution.

342. The actions of each defendent member of the 80C, In
their erbitrery denial of pleintiff a four-year sollege transfer
from 1991 to 1997, for being interrecial married to a former TOCJ
amployea, or without any other reason or penelogical objective,
were dane oonepiringly with a racial, meliciouse and sedistia
intent to deprive the ecquel perotectian of the laws, or equal
privileges end immunities under the laws, and conetituted denial
to freedom of esseciation, eruel and unusual punishment to
infliot mental anguish and discrimination, in vielation the

First, Eighth and Fourteenth Anendments to the United Stetes
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 50 of 59 PagelID #: 50

so
Constitution.

343. The actions of seach dsefendent member of SOC, In their
erbitrary denial of slaintiff to use federel funds (Pell Grants)
to finence colleze progrems for being interracial married ta e
former TOCS employee, or without any other reason or penalogical
ebjective were done conspiringly with e@ racteal, malloious and
eedistis intent to deprive the squeal protection of the laws, or
equal privileges end immunities under the laws, and constituted
dentel to freadom caf ssesootuation, cruel end unusuel punishment to
inflict mental enguiesh and discrimination, in violation the
Firet, Eighth and Fourteenth Amendmente to the United Stetes
Constitution.

344. Ths soanduct of each defendent member of the #80C
eonetituted sctse of diecriaination in denial of equal protectian
of the laws, or equal privileges end immunities under stete law.

345. The Ffallure of defendents Brickham and McAuliffe to
intervene or take steps te curb the diseriminatory sanduct of the
defendant members of 80C contributed to end proximate ceused the
violation of plaintiff's rights under the First, Eight and
Fourteenth Amendments to the United States Constitution.

346. The ectians of defendents Vernon, C. Jahnson, Saith
and Upshaw, in their denial of pleintiff's visite and remavel of
Andrea from the Vieltors List, without reason, inoldent or TOC.)
rule infraction, were done coenspiringly with eae racial, malicious
and sadistic intent to deprive equal proteatian cf the laws, or
equel privileges and immunities under the lewe, «and conetituted

denial to freedom of association, sruel and unusguvel punishment to
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 51 of 59 PagelID#: 51

51
inflict mental anguish and discrimination, in violetion of the
First, Eighth and Fourteenth Amendments to the United States
Constitution.

347. The conduct of defendants Vernon, C. Johnson, Smith
and Upshaw constituted acts of discrimination in denial of equal
protection of the laws, or equal privileges and immunities under
state law.

348. The failure of defendants Meys and White to intervenes
or take steps to scurb the discriminatory conduct of defendants
Vernon, CG. Johnson, Smith and Upshaw, contributed to and
proximately caused the violetion of plaintiff's rights under the
First, Eishe and Fourteenth Amendments to the United States
Constitution.

349. The faetiure of defendants Moore end Warren, in their
refusal to overturn the erbitrary decisian of defendants Vernon,
C.Johnson, Smith and Upshaw, to remove Andrea from the Visitors
Liet further denied pleintiff''s rights under the First, Eighth
and Fourteenth Amendments to the United States Constitution.

350. The ection af defendant Thompson, in reassignment of
plaintiff's job for being interracial married to a former TOCJ
employes was done with « racial, malicious and sadistic intent so
deprive the equal protection of the laws, or equel privileges and
immunities under the lawe, and infringed on the rights to freedom
of association, cruel and unusual punishment ta inflict mental
anguish and discrimination, in violation of the Firet, Eighth and
Fourteenth Amendments to the United States Constitution.

351. The cenduct of defendant Thompson constitute an act of
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 52 of 59 PagelID#: 52

52
discrimination in denial of the equal protection of the laws, or
equal privileges and immunities under state law.

352. The ections of defendants Maxey, Brock and Spivey, in
their clessification of plaintiff to a discriminatory prisan
environment, for being interrecial married to a former TOCJ-I0
employee, were done conspiringly with ae raciel, malicious end
sadistic intent to deprive the equal pratection of the laws, or
equal privileges and immunities under the lews, and constituted
cruel and unusual punishment to inflict mental anguish and
discrimination, in violation of the First, Eighth and Fourteenth
Amendments to the United Stetes Constitution.

353. The conduct of defendants Maxey, Brock snd Spivey
constituted acts of discrimination, in denial of equel protection
of the laws, or equal privileges and immunities under state law.

354. The action of defendant Spivay, in denying plaintiff
to visit was done with a racial, malicious and sadistic intent toa
deprive the equal protection of the lawe, or equal privileges and
femunities under the lews, and constituted a danial to freedom of
association, cruel and unusual punishment to inflict mental
anguish and discrimination, in violation of the First, Eighth
and Fourteenth Amendments to the United States Constitution.

355. The conduct of defendant Spivey constituted an act of
discrimination in denial of the equal protection of the laws, or
equal privileges and immunities under state law.

356. The actions of defandants Spivey, Maxey and Staples,
in their removal of Andrea from the Visiters List without reason,

inelident or TOCJS-I0 rule infraation, were done conspiringly with
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 53 of 59 PagelID #: 53

53
a racial, malicious end sadietic intent to deprive the equal
protestion of the lews, or equal privileges end immunities under
the laws, and sonstituted a denial to freedom of association,
cruel and unusual punishment to inflict mantel anguish and
discrimination, in violation of the First, Eighth and Fourteenth
Amendmente to tha United States Constitution.

357. The conduct of defendants Spivey, Maxey end Staples
oonstituted acts of discrimination, in denial of equal protection
of the lews, or equal privileges and immunities under state law.

358. The fallure of defendants Williemson and Lewis, in
their refueel to overturn the arbitrery decision af defendants
Spivey, Maxey end Steples to cancel plaintiff's visits and remove
Andrea from the Visitors List, further denied plaintiff's rights
under the First, Eighth and Fourteenth Amendments to the United
States Constitution.

359. The failure of defendants Maxey, Heuszel and Morgen to
take ection For informal resolution of plaintiff's grievances and
appeale further denied plaintiff's rights under the First, Eight
and Fourteenth Amendments to the United States Constitution.

360. The overall and consistent actions of each defendant
member of thea OAC and defendant G. Johnson, in their refusel to
everturn the bias and arbitrary removal of Andrea from the
Visitors List, wera done conspiringly with a racial, malicious
and eeadistic intent to deprive aqual protection of the laws, or
equal privileges and immunities under the laws, and constituted
denial toa freedom of association, cruel and unusuel punishment

to inflict mental enguish and discrimination, in vielatian of the
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 54 of 59 PageID #: 54

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54
Firat, Eighth and Fourteanth Amendments to the United States
Constitution.

361. The overall and consistant canduct of eash defendant
member of the ORC and defendant G. Jahnaon, constituted ects of
diserimination, in dential of the sequal protection of the laws, or
equal privileges and immunities under state law.

a GF REQUESTED:
WHEREFORE, plaintiff requests that the Court grant the
follawing relief:
A. Issue a dacierataory judgement stating that:

4). The mental sufferings of plaintiff by defendants
Vernon, C. Johnson, Smith, Upshaw, Thompson, Spivey,
Maxey, Brock, Staples and each member of the BOC,
violated plaintiff's rights under the First, Eighth
and Fourteanth Amendments to the United States Consti-
tution, and constituted discrimination under state
lawe. |

2). The defendants Srickham, McAuliffe, White, Mays,
Heuszel and Morgan failure to intervene or take action
to ocurb the discriminatory actions of sash defendant
mamber of the B80C and defendants Vernon, C. Johnson,
Smith, Upshaw, Thompson, Spivey, Maxey, Srock end
Staples, violated plaintiff's rights under the First,
Eighth and Fourteenth Amandmants ta the United States
Constitution, and constituted discrimination under
state laws.

3). The sactians of defendants Brickham, Moore and
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 55 of 59 PagelID #: 55

55

Williemeon, in their conduct of plaintiff's crievences
end compleinte; and, each defandent member of the ORC
and defendante Werren, Lewlie end @. Johnean, in their
sonduct of sueteining the grisvances and complainta
violated pleintiff's righte under the Firet, Eighth
and Fourteenth Amendments to the United States Consti-
tution.
4). The defendants Maxey, Spivey and Steples actions,
in their deniel of Andrea to visit plaintiff, violated
and continued ta vislete plaintiff's rights under the
First, fighth end Fourteenth Amendments to the United
Stetes Constitution.

8B. Iesue an injunation ORCERING the defendants Morgan, &.

Johnaon and each defendant member of the OAC and the BOC to:

4). Ymmediately arrange for Andres to visit pleintiff
according to the TOCJ-ID Visitation Policy [AD-03.85),
affective when plaintiff and Andrea filed papers to
acknowledged their common-law marriage, in order for
plaintiff and Andrea to reconcile their relationship.
2). Immediately arrange the transfer of plaintiff ta
e TOCJ-1I0 unit with a four-year college progrem, in
any event thet the defendants feel or assume Andrea's
vieitse on the TOCJ-I0 Ellie Unit would conetitute a
eiek or eecurity feotor.
3). Carry out without deley the request for plaintiff
to anroll in the four-year college progrem without any

Financial obligations, restrictions or limitations,
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 56 of 59 PagelID #: 56

56
4). Expunge from plaintiff's TOCJ-I0 unit end central
files all the false and negative information alleged
in thie complaint.
Awerd compensatory damages in the Following amounts:
4). $€500,000 jointly and severely agsinst each of the
defendant members of 80C for the emotional injuries
plaintiff sustained, as a result of herassmant and the
ratalietory transfers to force Andrea to travel across
the State of Taxas to visit and the ramoval of Andrea
from plaintiff's Visitors List.
2). $500,000 Jointly end severely against each of the
defendant members of 80C for the emotional injuries
plaintiff sustained, as a result of being denied = to
participate in the four-year college program from 13891
to 1997.
3). $100,000 Jointly end severely ageinst each of the
defendant members of the 80C for college tuition, as a
result of plaintiff being denied use of federel grants
from 19891 toa the ban on such grants for prisoners.
4). $500,000 jointly and severely aegainst defendante
Brickham and McAuliffe for the emotional § injuries
plaintiff sustained, as a result of their failure to
intervene or take steps to curb the actions of each
defendant member of the BOC.
5). $800,000 jointly and severely against dafendants
Vernon, C. Johnson, Smith and Upshaw for the emotional

injuries plaintiff suetained, es a result of their
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 57 of 59 PagelID#: 57

57
deniel of Andrea to visit plaintiff and the removel of
Andrea from plaintiff ts Visitors List.
6). $500,000 Jointly and severely against defendants
Meye end White for the emotienel injurise plaintiff
sustained, ae a result of their failure to intervene
or teke eteps te ourb the actions of defendants
Vernon, C. Johnaon, Smith end Upshew.
7). $800,000 jointly end severely ageinst defendants
Moore and Warren for the emotional injuries pleintiff
eusteined, ss a@ result af their failure to overturn
the decision of defendants Vernon, C. Johneon, Smith
and Upshaw to remove Andrea from plaintiff's Visitors
List.
8). $500,000 jointly end severely ageinst defendants
Thompeon, Maxey, Brook end Spivey for discriminatory
classification and sealgnment of plaintiff for being
married to a former TOCJU-I0 employes.
9). 8300,000 Jointly end severely eageinat defendants
Spivey, Mexey and Steplese for the emotional injuries
plaintiff sueteined, ase a8 result of their denial of
Andres to visit plainsiff.
10). $500,000 jointly and severely egainst defendants
Williamson and Lewis for emotianal injuries plaintiff
susteined, ae e reeult of their failure to overturn
the decision of defendants Spivey, Maxey and Staples
to deny Andrea to vielit plaintiff.

14). $800,000 jointly end severely against defendants
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 58 of 59 PagelID #: 58

5.

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58
Maxey, Heuszel and Morgen fer the emotional injuries
plaintiff sustained, as @ result of their failure to
informally reecive the arbitrary removal of Andrea
from plaintiff's Visitors List.
42). $300,000 Jointly end severely ageinet each of the
defendant membere of the DAC and defendant G. Johnson
for the emotional injuries plaintiff sustained, es «
result of their overall and consistent denials to
repleae Andree on plaintiff's Visitor's List.
Awerd punitive demagee in the following emounte:
4). $200,000 esgeinet each defendant xembar of the
BOC, end defendantea Grickham and McAuliffe.
2). $100,000 egeinst each defendant menber of the
CRC, and defendante Vernon, C. Johnaon, Smith, Upeshew,
Mays, White, Moore, Warren, Thompson, Maxey, Brook,
Spivey, Staples, Williamson, tewis, Hevezrel, Margen
and CC, Jokneon.

Invoke setete lew which requires termination ef TOCJ

euployees for tne ects deseribed herein.

F,

Grant sush other relief es it may appeer the plaintiff

ie entitled.

Resp eee ly oO"

bak Ray Jeffery

Plains iff

Executed on thie Za day of MARCH, 2000.
Case 6:00-cv-00205-JH Document1 Filed 03/31/00 Page 59 of 59 PagelID #: 59

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53

rr AMATION:

I declere under penalty of perjury thet ell the facts
presented in this compleint end ettechments hereto ere
true and correct.

I underetend thet if I am released or transferred, it is
my responsibility to keep the Court informed of current
mailing ssesrees and failure to do eo may result in the
dlewmlesel ef thie laweulit.

I understand that I muet exheust ell edminietrative
remedies aveilable, prior to Filling this leweult.

T underetend thee I em prohibited from bringing an in
forme pauperia lawsuit if I have brought three or sore
sivil sections in e» Court of the United Stetes while
incarcerated or detained in eny facility, which lawsulte
were diemissed on the ground they were frivolous,
malicious, or failed to stete a claim upon upon which
relief may be grented unless, I aw under imminent danger
of serious physioal injury.

I understand that if I am ellowad to preceed without any
prepayment of caste, I oem responsible for the $130
filing fee end the coste asesased by the Court, which
shall be deducted in seccordance with the law From my
inmate sccount by my custodian until the filing fee is

peid.

Signed on this ZSt\. day of MARCH, 2000.

nin Cr Qe.,

Plaintiff ° ,
